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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                  )          8:13CR73
                                           )
             Plaintiff,                    )
                                           )          ORDER
v.                                         )
                                           )
JESSICA KRAFT,                             )
                                           )
             Defendant.                    )



      UPON THE ORAL MOTION OF THE DEFENDANT,

       IT IS ORDERED that the Change of Plea hearing is continued to September 3,
2013 at 3:00 p.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second
Floor, Roman L. Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.

       For this defendant, the time between August 20, 2013 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

      No further continuances will be granted, absent unusual circumstances.

      Since this is a criminal case, the defendant must be present, unless excused by
the Court.

      DATED this 20th day of August, 2013.

                                        BY THE COURT:


                                        s/ F.A. Gossett
                                        United States Magistrate Judge
